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                           IN THE UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE

                                                                )
    In re:                                                      )     Chapter 11
                                                                )
    FTX TRADING LTD., et al., 1                                 )     Case No. 22-11068 (JTD)
                                                                )
                    Debtors.                                    )     (Jointly Administered)
                                                                )
                                                                )

                  DECLARATION OF JEREMY A. SHERIDAN IN
       SUPPORT OF THE JOINT MOTION OF THE DEBTORS AND THE OFFICIAL
            COMMITTEE OF UNSECURED CREDITORS FOR AN ORDER
          AUTHORIZING MOVANTS TO REDACT OR WITHHOLD CERTAIN
                CONFIDENTIAL INFORMATION OF CUSTOMERS
                AND PERSONAL INFORMATION OF INDIVIDUALS

             I, Jeremy A. Sheridan, declare pursuant to 28 U.S.C. § 1746 as follows:

             1.     I am a Managing Director in the Blockchain and Digital Assets practice for FTI

Consulting, Inc. (“FTI Consulting”). FTI Consulting is the financial advisor for the Official

Committee of Unsecured Creditors (the “Committee”) appointed in the above-captioned

bankruptcy cases (the “Chapter 11 Cases”) of the debtors (collectively, the “Debtors”).

             2.     I submit this declaration (the “Declaration”) in support of the Joint Motion Of The

Debtors And The Official Committee Of Unsecured Creditors For An Order Authorizing

Movants To Redact Or Withhold Certain Confidential Information Of Customers And Personal

Information Of Individuals, filed contemporaneously herewith (the “Motion”), which seeks this

Court’s authority to redact and seal the names, addresses and email addresses of the Debtors’




1
        The last four digits of FTX Trading Ltd.’s tax identification number are 3288. Due to the large number of
        debtor entities in these Chapter 11 Cases, a complete list of the Debtors and the last four digits of their federal
        tax identification numbers is not provided herein. A complete list of such information may be obtained on the
        website of the Debtors’ claims and noticing agent at https://cases.ra.kroll.com/FTX.
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customers who are natural persons (the “Confidential Customer Information”), from disclosure

in the Chapter 11 Cases, subject to certain exceptions as set forth in the Motion. 2

       3.        The statements in this Declaration are true to the best of my knowledge,

information and belief after a reasonable inquiry under the circumstances, and except where

noted specifically, are based on my personal knowledge or on information that I have received

from either the Committee and its professionals or other employees of FTI Consulting working

directly with me or under my supervision, direction or control. Neither FTI Consulting nor I am

being compensated specifically for this testimony beyond the compensation being provided to

FTI Consulting as a Court-approved professional services firm employed by the Committee. If I

were called upon to testify, I could and would competently testify to the facts and opinions set

forth herein. I am authorized to submit this Declaration on behalf of the Committee.

       4.        I have a Master’s Degree in Public Administration, Criminal Justice from the

University of Arizona. I have blockchain, cryptocurrency, and cybersecurity certifications from

the Blockchain Council, Columbia University, Carnegie Mellon University, Information Systems

Audit and Control Association (ISACA), and the Global Information Assurance Certificate

(GIAC). I possess a Top Secret / Sensitive Compartmented Information security clearance. My

resume is attached to this Declaration as Exhibit A.

       5.        I specialize in investigations of financial crime involving complex, cyber-enabled

fraud and have substantial experience investigating and analyzing illicit cryptocurrency

transactions.    These investigations require blockchain analytics and digital asset tracing to

investigate transaction flows and assign attribution to individuals transacting on blockchains. I



2
    I understand that there is no objection to the sealing of the physical addresses and email addresses of customers
    who are natural persons. Accordingly, the issue on the Motion is whether the names of such customers (the
    “Individual Customer Names”), should be redacted and sealed. Nevertheless and for the avoidance of doubt, it


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also specialize in network intrusion, ransomware and cyber incident response operations. My

investigative and regulatory expertise has been applied to protect the financial infrastructure of

the United States, strengthen the safety and soundness of the digital asset ecosystem, protect the

American public from cyber incidents and bring consequence to illicit actors operating in

cyberspace. I am also skilled at regulatory, government and public affairs related to blockchain,

cryptocurrency, digital asset strategy, policy, legislation, enforcement and regulation.

       6.       For 24 years, from September 1997 to April 2022, I worked for the Office of

Investigations for the United States Secret Service (the “Secret Service”), where I was promoted

to Assistant Director on October 11, 2020. The Secret Service Office of Investigations is

comprised of 162 offices and more than 3,000 personnel. As the Assistant Director, I led the

global investigative mission of the Secret Service, which included safeguarding the financial

systems of the United States from financial and cyber-based crimes, and served as an expert

witness in congressional hearings related to cryptocurrency before both the United States Senate

and United States House of Representatives. During my time with the Secret Service, I headed

and worked on multiple investigations involving crimes that contained a blockchain and/or

cryptocurrency component. A selection of my work is below:

                (a)      I have been the primary (arresting) case agent for 60 state and federal
                         financial crime investigations, resulting in 37 arrests with a 100%
                         conviction rate;

                (b)      I pioneered cyber investigative advancements and modernization for the
                         Secret Service, including the implementation of an Integrated
                         Investigations Operations Platform (“IIOP”) to enhance data aggregation,
                         migration and evaluation. These augmentations improved the agency’s
                         investigative capabilities through data processing efficiencies;




    is my opinion that all of the potential harm that may befall a customer to the extent its name is disclosed would
    be magnified tenfold to the extent its physical addresses and email addresses is disclosed as well.



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                (c)     I established the Secret Service’s first dedicated illicit finance and digital
                        asset tracing team to conduct investigations into illicit financial activity
                        involving cryptocurrency and other forms of digital payments;

                (d)     I directed the analysis of approximately 1381.25 terabytes of data, 145,971
                        digital forensic exams, and 696 network intrusion investigations related to
                        financial fraud;

                (e)     I had oversight of the National Computer Forensics Institute, the only
                        United States government federal facility which trains and equips the
                        nation’s state, local, territorial and tribal law enforcement officers in cyber
                        forensic investigations;

                (f)     I led the agency’s investigative teams to prevent approximately $5.825
                        billion in cyber and financial crime loss, executed 1,590 arrests for
                        financial crimes and investigated 13,171 criminal and protective
                        intelligence cases; and

                (g)     I directed the return of approximately $3.28 billion of seized funds to
                        financial institutions and private citizens who were victims of financial
                        crimes.

        7.      After my retirement from the Secret Service, and just prior to joining FTI, I was

the Vice President of Regulatory Affairs for Prime Trust, LLC (“Prime Trust”). Prime Trust is a

software-as-a-service financial infrastructure company, which provides application programming

interface (“API”) services for business-to-business digital asset transactions, such as qualified

custody, payment rails, indemnity, liquidity and settlement services. Prime Trust is a licensed

custodian for more than 200 individual digital tokens, processing up to 300 million API calls per

month, and settling up to $3.5 billion in transactions per month. At Prime Trust, I partnered with

legislators, enforcement agencies and regulators for legislative action and government

engagement in the digital asset industry.         I also led Prime Trust’s Legal and Compliance

departments in regulatory affairs. 3




3
    FTX was a customer of Prime Trust. During my short tenure at Prime Trust, my only involvement with FTX
    was to assist with response to media inquiries related to our processing of FTX customer funds.



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       8.        In my experience, malefactors often use cryptocurrency to facilitate financial

fraud. I have substantial experience investigating and analyzing such illicit cryptocurrency

transactions.    Similarly, I have become familiar with the methods and tactics malefactors

commonly use to target businesses and individuals for illicit activity. Based on my experience,

as well as my understanding of the Debtors’ prepetition activities and the high profile nature of

these proceedings, I believe that revealing the Individual Customer Names imposes a severe and

unusual risk of identity theft, asset theft, personal attack, and further online victimization. These

risks are heightened with respect to the Debtors’ customers because malefactors typically target

(x) consumers they believe to be holders of cryptocurrency and (y) consumers who are in a

vulnerable state, including because they have sums of money tied up in bankruptcy proceedings.

       9.        Identity and asset theft schemes are often extremely successful using blind or

blanket attack methods, where the malefactor has no background information on their victims.

These crimes become significantly more effective when malefactors employ targeted approaches

equipped with some measure of background or personal information about the victim. In that

regard, even if only Individual Customer Names are disclosed, through combining a customer

name with other publicly available sources—i.e., a malefactor can correlate additional

information from public databases, including telephone numbers, home addresses, email

addresses, places of employment, social media presence, associates, etc.—a malefactor will be

able to harvest a full target biography of a customer, i.e., a customer dossier. This dossier vastly

increases the malefactor’s probability of success in committing a crime against these targets

based on the ability to implement bespoke attack vectors and techniques. Although customers

with extremely common names may be afforded slightly more protection against a malefactor

who tries to locate the customer’s online presence, simply being able to tie a name to a certain




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trait—such as an individual who holds and invests in cryptocurrency—can significantly increase

the likelihood that a malefactor may locate an individual’s online presence and information, and

thus provide the malefactor the opportunity to create a customer dossier.

         10.      Odds of success for identify and asset theft crimes are increased even further if

they are committed against vulnerable persons, such as the Debtors’ customers in these Chapter

11 Cases, whose circumstances provide greater opportunity to, or reduced defense against, the

malefactor. Some of the Debtors’ individual customers may be vulnerable due to the monetary

losses they have experienced resulting from the misconduct and alleged fraud by the Debtors’

former management. 4

A.       Disclosure of Individual Customer Names, Creates an Undue Risk of Identify Theft or
         Unlawful Injury.

         11.      In my experience, cryptocurrency offers several opportunities to malefactors

seeking to commit illicit activities. It serves as a distributed, instantaneous transfer of value that

does not provide the immediate identity of its user and can serve as both the method and the

means to conduct illicit activity. As such, malefactors target known cryptocurrency holders for

scams.     If Individual Customer Names are made public in these Chapter 11 Cases, such

information will provide potential malefactors an itemized list of vulnerable targets. 5                         In

particular, it will provide malefactors with a menu of potential targets via disclosure of the

Debtors’ schedules of assets and liabilities list (if the Individual Customer Names are not

redacted), and each of the Debtors’ customers’ respective cryptocurrency holdings. By making




4
     See Exhibit B. Erika Harrell, Victims of Identity Theft, 2018, BUREAU OF JUSTICE STATISTICS (Apr., 2021), at
     11, https://bjs.ojp.gov/library/publications/victims-identity-theft-2018 (discussing percentages of victims who
     reported emotion distress after experiencing identity theft).



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the names of the Debtors’ customers public, these schedules would serve to identify individual

customers of the Debtors who hold relatively larger amounts of cryptocurrency, thereby placing

a target on their back and facilitating fraudulent schemes by malefactors.

        12.     Moreover, as mentioned above, the likelihood of successfully executing a

cybercrime is vastly increased if the malefactor has knowledge of their target. This is evidenced

in the most prevalent types of online financial fraud scams.

        13.     Business Email Compromise (“BEC”). BECs exploit knowledge of the target’s

personal and professional online business activity. In these schemes, the malefactor will send the

target an email message that appears to be a legitimate request for some business function, such a

payment of an invoice or wiring of funds to complete a transaction. Knowledge of the target’s

personal details is integral to the execution of this scheme, such that the Federal Bureau of

Investigation’s first recommended safeguard against them is to “[b]e careful with what

information you share online . . . .” 6

        14.     Romance Scams. Romance scams are those in which the malefactor pretends to

build a romantic relationship with the victim in order to convince them or guilt them in to

sending them money. The backbone of these scams is establishing an online connection and

rapport with the target. Malefactors are successful at these scams when they are conducted with

random targets with no intelligence related to their identity. A directed romance scam based on

knowledge of the target’s identity exponentially increases the likelihood of these attacks being


5
    See Exhibit C. Zhiyuan Sun, Crypto Users Claim Gemini Email Leak Occurred Much Earlier Than First
    Reported, COINTELEGRAPH, (Dec. 14. 2022), https://cointelegraph.com/news/crypto-users-claim-gemini-email-
    leak-occurred-much-earlier-than-first-reported (reporting that multiple customers of the cryptocurrency
    exchange Gemini received phishing emails after Gemini experienced a leak of customer emails and partial
    phone numbers).
6
    See Exhibit D.        Business Email Compromise, FBI, https://www.fbi.gov/how-we-can-help-you/safety-
    resources/scams-and-safety/common-scams-and-crimes/business-email-compromise (last visited Apr. 10,
    2023).



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successful. The malefactors who are able to perform reconnaissance to see which victims have

the most investment potential are those most likely to execute the fraud. 7

        15.     Pig Butchering. The practice of increasing a victim’s cryptocurrency account,

known as “fattening” before draining of all funds, is called “Pig Butchering”. This scam has

grown rapidly in the past year and cost U.S. victims “more than $429 million in losses” in 2022.8

These scams are perpetrated by malefactors who form online relationships with their targets,

convince them to invest in cryptocurrency accounts, and then steal the invested funds. In most of

these schemes, the malefactor doesn’t know their target prior to executing the fraud and has to

persuade them to set up a cryptocurrency wallet. Both of these requirements will be eliminated

with the release of Individual Customer Names, as the malefactor will be able to specifically

identify their target as someone who is already versed in cryptocurrency and who already has a

cryptocurrency wallet established.

        16.     Phishing Attacks.        There are multiple types of phishing attacks, including

cryptocurrency credential harvesting, cryptocurrency transfer solicitation and commodity stealers

that target cryptocurrency values. Phishing involves the malefactor posing as a known or trusted

entity through an email, text message or instant message. A malefactor can easily pose as a

known entity to increase the appearance of legitimacy by including that entity’s logo, color

scheme or other identifying attributes. Even more effective is to purport legitimacy by including

personal information about the target in the phishing message from which, based on the

malefactor’s misrepresentation, the target provides sensitive personal, business or financial


7
    See Exhibit E.         The 2023 Crypto Crime Report, CHAINALYSIS, (Feb. 2023), at 87 and 100,
    https://go.chainalysis.com/2023-crypto-crime-report (explaining that scammers often perform reconnaissance
    on potential victims).
8
    See Exhibit F. Robert McMillan, A Text Scam Called ‘Pig Butchering’ Cost Her More Than $1.6 Million,
    WALL ST. J. (Oct. 20, 2022), https://www.wsj.com/articles/a-text-scam-called-pig-butchering-cost-her-more-
    than-1-6-million-11666258201.



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information. This information can be provided by the target directly in a response to the

imposter or indirectly by clicking on a link that allows the malefactor unauthorized access to the

target’s device (a “Trojan”) or injects some other form of malware or virus to infect the target’s

device. With access to the target’s network, the malefactor can then obtain account information,

change permissions and authorizations for further illicit activity, transfer funds into their

possession, and send sensitive information from the targeted account holders’ infected device to

the malefactor. I have seen phishing attacks in my professional experience used, and succeed, in

obtaining both victims’ account credentials and their private keys to online wallets containing

cryptocurrency. These attacks do not require a high degree of sophistication and are facilitated

by phish kits that can be used to create fraudulent landing pages 9 with pre-packaged sets of code,

graphics and configuration files. The only missing element to these kits is the target of the

attack, which will be available if the Individual Customer Names are disclosed in these Chapter

11 Cases.

        17.     Account Spoofing. Spoofing entails a malefactor disguising an email address,

display name, phone number, text message, or website URL to convince a target that the source

of the message is a legitimate entity. A malefactor could target one of the Debtors’ customers,

locate their email address from other public sources and contact them from a spoofed email

address that appears to relate to the proceedings in these Chapter 11 Cases. A customer of the

Debtors is less likely to be suspicious of emails that appear to be related to these Chapter 11

Cases—and thus unlikely to notice the minor errors in domain names that might alert them to the

fraud—if the emails target the account holder based on the malefactor’s knowledge of their

cryptocurrency holdings and the circumstances of this case.


9
    See Exhibit G. Jared Peck, Have Money for a Latte? Then You Too Can Buy a Phish Kit, PROOFPOINT, (Dec.
    16, 2021), at 5, https://www.proofpoint.com/us/blog/threat-insight/have-money-latte-then-you-too-can-buy-


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         18.        Again, the success of this scheme will be significantly enhanced if the spoofed

message contains the target’s personally identifiable information, such as Individual Customer

Names, which the target perceives as indicia of authenticity. This increased risk is not merely

speculative or conjecture. In the currently ongoing cryptocurrency bankruptcy case of In re

Celsius Network LLC (“Celsius”), the names of Celsius’ customers were made public.

Subsequently, many Celsius customers became the target of phishing attacks by scammers

posing as bankruptcy lawyers using emails and phone calls. 10 These examples of phishing

attacks targeting the Celsius customers ranged from simple attempts to connect over messaging

applications, to sophisticated emails using Celsius logos and impersonating legal counsel, and in

one instance resulted in the bankruptcy court involving the U.S. Marshal. 11 Even though Celsius

customer email addresses and phone numbers were redacted, malefactors were still able to reach

customers based solely upon the disclosed names. An even greater risk of attacks exists in the

Chapter 11 Cases if Individual Customer Names are disclosed because there are approximately 9

million customer accounts on the Debtors’ exchanges as compared to the approximately 1.7

million registered users in Celsius, of which only approximately 300,000 are active users that


     phish-kit.
10
     See Exhibits H.      James Nani, Scammers, Posing as Kirkland Lawyers, Phishing Celsius Customers,
     BLOOMBERG LAW (Dec. 1, 2022), https://news.bloomberglaw.com/bankruptcy-law/scammers-posing-as-
     kirkland-lawyers-phishing-celsius-customers (reporting on phishing attempts that occurred after the unsealing
     of customer names in the Celsius bankruptcy proceeding); see also Exhibit I. Notices of Phishing Attempts, In
     re Celsius Network LLC, Case No. 22-10964 (MG) (Bankr. S.D.N.Y.) [Docket Nos. 1527, 1681, 1904, 1992
     and 2082].
11
     The attack in question involved a phishing attempt in which malefactors sent emails to Celsius customers,
     purportedly from the claims agent in that case, requesting additional personally indefinable information from
     customers and requiring a filing fee and tax fee to be paid. The email address used by the scammers to send the
     phishing attempt came from “celsius@cases.stretto.restructuring.ltd”, which is similar to the domain name of
     the official claims agent in the Celsius cases. As part of the scam, an order from the Celsius bankruptcy court
     was attached, which had been modified to include false information, thereby making it appear that that the
     request for personal information and fees was legitimate. Supra Exhibit I, Second Supplemental Notice of
     Additional Phishing Attempts, In re Celsius Network LLC, Case No. 22-10964 (MG) (Bankr. S.D.N.Y. Jan. 12,
     2023) [Docket No. 1904]; see also Exhibit J. Hr’g Tr. (Feb. 6, 2023) at 17:9-16, In re Celsius Network LLC,
     Case No. 22-10964 (MG) (Bankr. S.D.N.Y. Feb. 6, 2023) [Docket No. 2016].



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hold an account balance of more than $100. 12                 Moreover, I know from experience that a

malefactor will more easily be able to steal private keys or cryptocurrency from wallets by

obtaining the necessary information from the target via account spoofing.

         19.      Each of the aforementioned financial fraud scams, BEC, Romance Scams, Pig

Butchering, Phishing attacks, and Spoofing relies on the malefactor impersonating a trusted

entity. Historically, these efforts have been hampered by linguistic, grammatical, or content

errors committed by the malefactor, especially those in foreign locations. Simply put, the

malefactor makes errors in the impersonation message that raise suspicion in their target and

prevent the scheme from being successful. However, the arrival and refinement of artificial

intelligence programs, such as ChatGPT, a language model that can generate, proofread and

enhance technical writings (including emails), has further propelled the success of these

impersonation attacks by essentially eliminating previous telltale signs of poor grammar, typos,

and recycled material/narratives. 13 This further increases both the likelihood of phishing emails

bypassing spam filters and the success of the attack itself against individuals. Furthermore, the

Debtors’ customer base contains a large number of foreign individuals, who may not be familiar

with the U.S. bankruptcy process. This lack of familiarity increases the risk and likelihood of a

customer falling victim to one of the above scams or attacks because a customer may not realize

that the Debtors would never request certain information from their customer base, such as their

account password or private keys.


12
     See Declaration of Alex Mashinsky, Chief Executive Officer of Celsius Network LLC, in Support of Chapter 11
     Petitions and First Day Motions, ¶ 9, In re Celsius Network LLC, et al., Case No. 22-10964 (MG) (Bankr.
     S.D.N.Y. July 14, 2022) [Docket No. 23].
13
     See Exhibit K. Mark Sweney, Darktrace Warns of Rise in AI-Enhanced Scams since ChatGPT Release, THE
     GUARDIAN, (Mar. 8, 2023), https://www.theguardian.com/technology/2023/mar/08/darktrace-warns-of-rise-in-
     ai-enhanced-scams-since-chatgpt-release (reporting on the warning of cybersecurity firm Darktrace concerning
     an increase in criminals using artificial intelligence to create sophisticated and convincing scams since the
     launch of ChatGPT in November, 2022).



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         20.     SIM Swapping. SIM swapping is when a malefactor gains access to a target’s

cellphone, which allows the malefactor to receive communications associated with the target’s

phone number, including those that involve multi-factor authentication (“MFA”).                      MFA is

predominantly used to access financial accounts. To accomplish SIM swapping, a malefactor

transfers the target’s cell phone number to another device without authorization through the

target’s wireless provider, and the wireless provider is tricked into conducting this transfer based

on the malefactor’s impersonation of the target. This impersonation is carried out through

various forms of social engineering conducted by the malefactor, wherein they convincingly act

as the true owner of a cellphone account with the wireless provider. In this scenario, the

malefactor’s odds at claiming to be the authorized account holder are vastly increased if they are

able to provide accurate personal information about the authorized account holder. Malefactors

are able to complete this illicit activity even if armed solely with an account holder’s name, as

there are numerous online avenues to search for cellphone numbers by name only and U.S.

carriers have a poor track record of preventing these attacks. Additionally, most providers of

online cryptocurrency wallets rely on MFA via text messaging for a number of account

functions, including resetting passwords, conducting transactions and gaining access to the

wallets or private keys. A malefactor who has obtained a SIM swapped device can effortlessly

authenticate and obtain access to the contents of the phone belonging to the targeted account

holder, including private keys to wallets containing cryptocurrency. 14 In my experience, SIM

swapping is a particularly effective fraud scheme as it circumvents and leverages the perceived

austere security mechanism of MFA.


14
     See Exhibit R, Lorenzo Franceschi-Bicchierai Cops Arrest Infamous SIM Swapper Who Allegedly Stole $14
     Million in Cryptocurrency (Oct. 11, 2018), https://www.vice.com/en/article/7x3may/cops-arrest-sim-swapper-
     14-million-cryptocurrency (reporting on a sim swapping scheme where $14 million in cryptocurrency was
     stolen).



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         21.      Physical Threats. Finally, in addition to online financial fraud scams, customers

of the Debtors whose Individual Customer Names are disclosed may face physical threats, such

as robberies, stalking, vandalism, cyber-bullying, and other threats of violence. 15 There have

been notable recent reports of kidnappings in which victims are targeted because they are known

to hold a large amount of cryptocurrency.                In my experience and in investigations I have

conducted involving targeted violence, these cases often involve subjects suffering from mental

disorders preying on targets who often are identified through online information connected to

high profile events. Disclosing Individual Customer Names would expose some customers to

this type of aggression. 16

         22.      Beyond the potential for physical harm, emotional distress, cyber threats,

kidnapping, stalking, and bullying that could occur, malefactors could likely determine the

physical addresses of the Debtors’ customers as a result of disclosure of Individual Customer

Names. In my opinion and experience, known holders of cryptocurrency are frequently targeted

because malefactors are cognizant that cryptocurrency assets are easy to liquidate and very

difficult to trace. 17


15
     See Exhibit L. Francisco Memoria, Victim of Brazil Bitcoin Ransom Kidnapping Plot Rescued, CCN, (last
     modified on Mar. 4, 2021), https://www.ccn.com/victim-of-brazilian-bitcoin-ransom-kidnapping-rescued
     (reporting that a woman married to a cryptocurrency businessman in São Paulo, Brazil was kidnapped and
     ransomed for Bitcoin and another cryptocurrency, with police believing the victim was targeted specifically due
     to her ties with cryptocurrency); see also Exhibit M. Jamie Redman, London Student Robbed at Knifepoint by
     8 Thugs for $93k in Bitcoin, BITCOIN.COM, (Sept. 25, 2021), https://news.bitcoin.com/london-college-student-
     robbed-at-knifepoint-by-8-thugs-for-93k-in-bitcoin (reporting that a student was robbed immediately after
     disclosing to a friend his ownership of Bitcoin).
16
     See Exhibit N. Chris Morris, Some Teenagers Are Making a Fortune Trading Bitcoin—One Even Got
     Kidnapped Because of His Success, FORTUNE, (Oct. 21, 2021), https://fortune.com/2021/10/21/trading-bitcoin-
     teenagers-kidnapped (reporting that a 14-year-old was kidnapped and beaten after publicly announcing his
     success in Bitcoin trading).
17
     See Exhibit O. Rob Davies, ‘Crypto Muggings’: Thieves in London Target Digital Investors by Taking
     Phones, THE GUARDIAN, (May 8, 2022), https://www.theguardian.com/technology/2022/may/08/crypto-
     muggings-thieves-in-london-target-digital-investors-by-taking-phones (reporting that there have been multiple
     incidents of violent crimes, with thieves targeting cryptocurrency investors due to the irreversible nature of
     transfer of cryptocurrency).



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B.       Malefactors Only Need Access to the Individual Customer Names in Order to Steal
         Customers’ Identity or Produce Unlawful Injury.

         23.     If Individual Customer Names are disclosed (even if no other Confidential

Customer Information is made available), malefactors can much more easily target the Debtors’

customers. Cryptocurrency fraud is easier to enact if malefactors have access to a target’s name,

because malefactors can then assemble and correlate other identifying information about an

individual using various means, including social media, public and private databases, and other

data sourced from past hacks. For example, data breaches over the past decade involving, for

example, Yahoo, LinkedIn, Facebook and Marriott have flooded illicit marketplaces with a

treasure trove of personally identifiable information. 18           Hackers have sold this information

through encrypted chat groups or the dark web for pennies per record. Additionally, the plethora

of hacks occurring at other cryptocurrency companies, such as BaderDAO, BitMart, Binance,

Bitfinex and KuCoin, adds to the volume of personally identifiable information and

cryptocurrency-specific personally identifiable information available in illicit marketplaces. 19 It

is not difficult for malefactors to correlate all of this publicly available information, especially

information that originates from cryptocurrency hacks, with disclosed Individual Customer

Names.

         24.     Furthermore, it is common for cryptocurrency holders to use multiple wallets or

online platforms to store their cryptocurrency assets, as some wallets only support certain types

of cryptocurrency and some online platforms only support limited types of transactions or

services. It is my understanding that a vast number of the Debtors’ customers use other online



18
     See generally Exhibit P. Michael Hill, Dan Swinhoe, The 15 Biggest Data Breaches of the 21st Century, CSO,
     (Nov. 8, 2022), https://www.csoonline.com/article/2130877/the-biggest-data-breaches-of-the-21st-century.
19
     See generally Exhibit Q. 17 Biggest Crypto Heists of All Time, COINTELEGRAPH, (Mar. 10, 2023),
     https://cointelegraph.com/explained/the-biggest-crypto-heists-of-all-time.



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platforms or exchanges to hold digital assets (e.g., Coinbase, Metamask, etc.).           Therefore,

disclosing Individual Customer Names will put at risk of attacks and schemes the cryptocurrency

held by those individuals stored on non-Debtor exchanges.

       25.     I know from experience that a malefactor who possesses the name of a person

who holds cryptocurrency is enough to subject that person to BECs, romance scams, pig

butchering, phishing, account spoofing, SIM swaps, physical attacks and other unlawful injury.

These risks are material and exacerbated if other identifying information is obtained, such as

physical address or email address. Although online attacks and cyber threats, stalking, and

bullying are endemic in today’s virtual world, the release of Individual Customer Names would

greatly exacerbate such risks for the Debtors’ customers. Perpetrators of frauds and online

attacks are emboldened by, motivated from and attracted to high profile cases like the Chapter 11

Cases. Adding to this environment is the fact that cryptocurrency is already an attractive target

for malefactors because it is easy to liquidate, instantaneous, global and pseudo anonymous. In

that regard, disclosing the names of customers of a cryptocurrency exchange, is different, than,

for instance, disclosing the names of creditors of a non-cryptocurrency related debtor. And while

I understand that there is normally a presumption of transparency and disclosure in bankruptcy

cases, the dangers I have described from disclosing Individual Customer Names serve to

highlight the uniqueness of these cases. Therefore, I believe it is prudent to protect the Debtors’

customers’ identities by ensuring that those names are sealed, rather than accepting the

significant risks that the Debtors’ customers will be subject to criminal activity as a result of the

disclosure of the Individual Customer Names.




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